          Case 3:17-cv-01281-JAM Document 8 Filed 10/25/17 Page 1 of 8




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 CHAD J. PETITPAS,
      Plaintiff,

         v.                                                    No. 3:17-cv-1281(JAM)

 ROBERT MARTIN, et al.,
     Defendants.


                                   INITIAL REVIEW ORDER

       Plaintiff Chad J. Petitpas is a prisoner in the custody of the Connecticut Department of

Correction. He has filed a complaint pro se and in forma pauperis under 42 U.S.C. § 1983

against various prison officials. In essence, he contends that these officials retaliated against him

in various ways following his prior successful litigation against the Department of Correction.

The named defendants are Warden Robert Martin, Deputy Warden William Colon, Captain

Robert Judd, Officer Lesniewski and Officer Kurtzenacker. After initial review, I conclude that

the complaint should proceed on plaintiff’s Fourth Amendment claim against Lesniewski and on

plaintiff’s First Amendment retaliation claim against Martin, Colon, Lesniewski, and

Kurtzenacker.

                                           BACKGROUND

       The following allegations from plaintiff’s complaint are accepted as true for purposes of

this ruling. On June 13, 2017, plaintiff settled a federal civil rights action. On June 14, 2017,

pursuant to the settlement agreement, plaintiff was transferred to Brooklyn Correctional

Institution. Upon his arrival, Lesniewski, who was the phone monitor officer at Brooklyn, began

telling people that plaintiff had gotten three officers fired and two others demoted as a result of

the prior lawsuit. He also made clear his disagreement with the portion of the settlement

                                                  1
           Case 3:17-cv-01281-JAM Document 8 Filed 10/25/17 Page 2 of 8




agreement providing that plaintiff could not be transferred without his written consent. Other

officers advised plaintiff to avoid Lesniewski, who was scheduled to retire the following week.

Doc. #1 at 6-7.

        On June 27, 2017, Lesniewski removed from plaintiff’s master file two documents

authorizing plaintiff to correspond with two other inmates. Lesniewski then issued plaintiff a

Class A disciplinary ticket for corresponding with other inmates. In the disciplinary report,

Lesniewski stated that plaintiff has won a lawsuit against the Department of Correction and that

three officers had been fired and two demoted as a result of the suit. The comment was not

relevant to the disciplinary charge and included to ensure that any hearing officer would be

biased against plaintiff. Id. at 7.

        Defendant Martin refused to investigate the charge. He offered plaintiff two options—

plead guilty or fight the charge from restrictive housing at Corrigan Correctional Institution.

Plaintiff pled guilty. Ibid.

        Plaintiff spoke to defendants Judd and Colon about harassment by Lesniewski regarding

personal matters he included in correspondence and conversations with his attorney. Plaintiff

provided evidence that Lesniewski was monitoring plaintiff’s confidential legal calls.

Lesniewski had allegedly altered the privacy setting and name associated with counsel’s phone

number to allow him to listen to the legal calls. The name Lesniewski substituted was the name

of a gang member. He also allegedly changed plaintiff’s PIN number to a gang code. Id. at 8.

        On July 8, 2017, defendant Kurtzenacker removed 45 music CD’s from plaintiff’s cell.

Although correctional directives only permit inmates to have only 20 CD’s, plaintiff had been

awarded 30 CD’s in a prior settlement with the security division of the department of correction

and had been allowed to have the 45 CD’s since 2012. Plaintiff was not issued a disciplinary



                                                 2
             Case 3:17-cv-01281-JAM Document 8 Filed 10/25/17 Page 3 of 8




charge for possessing the CD’s and was not given a receipt for the $800.00 value of the CD’s.

Ibid.

         On July 10, 2017, plaintiff spoke to Martin and Colon regarding the CD’s. Colon stated

that because plaintiff had more than 20 CD’s, all of the CD’s were considered contraband.

Martin stated that the CD’s had been confiscated during a shakedown. Plaintiff disputed the

accuracy of Martin’s statement and questioned the lack of a disciplinary report or receipt. Martin

told plaintiff to “go write the court.” Id. at 9.

                                                    DISCUSSION

         Pursuant to 28 U.S.C. § 1915A(a), the Court must review prisoner civil complaints and

dismiss any portion of the complaint that is frivolous or malicious, that fails to state a claim upon

which relief may be granted, or that seeks monetary relief from a defendant who is immune from

such relief. In recent years, the Supreme Court has set forth a threshold “plausibility” pleading

standard for courts to evaluate the adequacy of federal court complaints. A complaint must allege

enough facts—as distinct from legal conclusions—that give rise to plausible grounds for relief.

See, e.g., Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007). Notwithstanding the rule of liberal interpretation of a pro se complaint, a pro se

complaint may not survive dismissal if its factual allegations do not meet the basic plausibility

standard. See, e.g., Fowlkes v. Ironworkers Local 40, 790 F.3d 378, 387 (2d Cir. 2015).

         First, I address whether plaintiff’s allegation that Lesniewski monitored plaintiff’s

attorney-client communication plausibly states a constitutional violation. Plaintiff claims that the

monitoring constitutes a violation of the Fourth Amendment.1 It is at least debatable whether


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          Plaintiff also alleges a violation of the Sixth and Fourteenth Amendments. But Sixth Amendment rights
attach when criminal proceedings have commenced against an accused. See United States v. Mills, 412 F.3d 325,
328 (2d Cir. 2005). Here, plaintiff has not alleged that, at the time of the alleged monitoring, he was a defendant in a
pending criminal prosecution. See, e.g., McIntosh v. United States, 2016 WL 1274585, at *22. (S.D.N.Y. 2016).

                                                           3
            Case 3:17-cv-01281-JAM Document 8 Filed 10/25/17 Page 4 of 8




such non-consensual monitoring of a prisoner’s telephone call with legal counsel amounts to a

violation of the Fourth Amendment. See, e.g., Lonegan v. Hasty, 436 F. Supp. 2d 419, 433-39

(E.D.N.Y. 2006); In re State Police Litig., 888 F. Supp. 1235, 1255-56 (D. Conn. 1995); but see

United States v. Lentz, 419 F. Supp. 2d 820, 827-29 (E.D. Va. 2005) (no attorney-client privilege

if prisoner knows conversation is being recorded). Accordingly, plaintiff’s Fourth Amendment

claim will proceed against Lesniewski.

        Plaintiff further alleges that essentially all of the actions taken by all named defendants

violated the Eighth Amendment. The facts alleged in the complaint do not sound in traditional

Eighth Amendment doctrine, such as excessive use of force or deliberate indifference to serious

medical needs. See, e.g., Sands v. Mudano, 2017 WL 242466, at *2 (D. Conn. 2017). Rather,

plaintiff’s allegations more fairly describe unfair treatment, not cruel or unusual punishment.

Accordingly, I conclude plaintiff has failed to state a claim under the Eighth Amendment.

        Although plaintiff does not expressly allege that defendants retaliated against him in

violation of his First Amendment rights, the complaint alleges acts that—if true—might amount

to retaliation in violation of the First Amendment. To establish a First Amendment retaliation

claim, a plaintiff must allege facts showing “(1) that the speech or conduct at issue was

protected, (2) that the defendant took adverse action against the plaintiff, and (3) that there was a

causal connection between the protected speech and the adverse action.” Dolan v. Connolly, 794

F.3d 290, 294 (2d Cir. 2015).

        As to the first of these elements, plaintiff has described in his complaint two forms of

protected activity: (1) filing a lawsuit, see, e.g., Baskerville v. Blot, 224 F. Supp. 2d 723, 731



Accordingly, he cannot show that any monitoring of his telephone calls with counsel amounted to a violation of the
Sixth Amendment. Apart from the fact that the Fourth Amendment is incorporated against state actors by means of
the Fourteenth Amendment, I do not understand plaintiff’s Fourteenth Amendment claim to allege any actionable
wrong that is not otherwise within the scope of the Fourth Amendment.

                                                         4
          Case 3:17-cv-01281-JAM Document 8 Filed 10/25/17 Page 5 of 8




(S.D.N.Y. 2002), and (2) making oral complaints to correction officers. See, e.g., Tirado v. Shutt,

2015 WL 4476027, at *4 (S.D.N.Y. 2015).

       As to the second element, plaintiff has alleged adverse action by all but one of the

defendants. Lesniewski took adverse action against plaintiff by allegedly monitoring his

attorney-client telephone calls, by altering phone record identification data, and by removing

from his file paperwork permitting him to correspond with certain inmates and then citing

plaintiff for corresponding with those inmates. Kurtzenacker, Colon, and Martin took part in or

approved the confiscation of plaintiff’s CD’s. Plaintiff has not alleged that defendant Judd took

any retaliatory action.

       As to the third element, plaintiff has alleged a plausible causal connection between the

adverse actions and the protected activity. At this stage in the case, an allegation of close

temporal proximity between the adverse action and the protected activity is sufficient to state a

plausible causal connection. See, e.g., Espinal v. Goord, 558 F.3d 119, 129 (2d Cir. 2009). Here,

plaintiff alleges that all of the adverse actions occurred within one month of his lawsuit

settlement and arrival at Brooklyn Correctional Institute and that his CD’s were taken the day

after he complained about Lesniewski.

       In addition, plaintiff alleged that Lesniewski made “comments” to plaintiff about the

settlement agreement and informed others that plaintiff’s lawsuit resulted in the dismissal of

three correction officers and the demotion of two other officers. Doc. #1 at 7. Construing

plaintiff’s complaint liberally, it can be inferred that defendants Kurtzenacker, Colon, and Martin

were among those whom Lesniewski told about the lawsuit. Espinal, 558 F.3d at 130. Given the

foregoing, I conclude that plaintiff has sufficiently alleged a causal connection between the




                                                  5
             Case 3:17-cv-01281-JAM Document 8 Filed 10/25/17 Page 6 of 8




defendants’ adverse actions and plaintiff’s protected activity. Plaintiff’s First Amendment claim

will therefore proceed against defendants Martin, Colon, Lesniewski, and Kurtzenacker.

       A substantial question also exists whether plaintiff exhausted his administrative remedies

prior to filing this lawsuit and as required under the Prison Litigation Reform Act (PLRA), 42

U.S.C. § 1997e(a). Because I do not yet have enough information about whether plaintiff has

sought to exhaust his administrative remedies and whether his claim would be subject to the

exhaustion requirement, it would be premature at this time for me to consider whether to dismiss

plaintiff's claim for failure to exhaust administrative remedies. See Williams v. Correction

Officer Priatno, 829 F.3d 118, 122 (2d Cir. 2016) (noting that “inmates are not required to

specially plead or demonstrate exhaustion in their complaints,” but that “a district court still may

dismiss a complaint for failure to exhaust administrative remedies if it is clear on the face of the

complaint that the plaintiff did not satisfy the PLRA exhaustion requirement”).

                                           CONCLUSION

       In accordance with the foregoing analysis, the Court enters the following orders:

       (1)      All claims against defendant Judd are DISMISSED pursuant to 28 U.S.C. §

1915A(b)(1).

       (2)      The Clerk shall verify the current work addresses for defendants Martin, Colon,

Lesniewski, and Kurtzenacker with the Department of Correction Office of Legal Affairs. The

Clerk shall then mail waiver of service of process request packets containing the Complaint to

defendants at the confirmed addresses within twenty-one (21) days of this Order, and report to

the Court on the status of the waiver request on the thirty-fifth (35) day after mailing. If any

defendant fails to return the waiver request, the Clerk shall make arrangements for in-person

service by the U.S. Marshal Service on him or her in individual capacity and the defendant shall



                                                  6
               Case 3:17-cv-01281-JAM Document 8 Filed 10/25/17 Page 7 of 8




be required to pay the costs of such service in accordance with Federal Rule of Civil Procedure

4(d).

         (3)      The Clerk shall send written notice to plaintiff of the status of this action, along

with a copy of this Order.

         (4)      The Clerk shall send a courtesy copy of the Complaint and this Order to the

Connecticut Attorney General and the Department of Correction Office of Legal Affairs.

         (5)      The defendants shall file their response to the complaint, either an answer or

motion to dismiss, within sixty (60) days from the date the waiver forms are sent. If they choose

to file an answer, they shall admit or deny the allegations and respond to the cognizable claims

recited above. They also may include any and all additional defenses permitted by the Federal

Rules.

         (6)      Discovery, pursuant to Federal Rules of Civil Procedure 26 through 37, shall be

completed within seven months (210 days) from the date of this order. Discovery requests need

not be filed with the Court.

         (7)      All motions for summary judgment shall be filed within eight months (240 days)

from the date of this order.

         (8)      Pursuant to Local Civil Rule 7(a), a nonmoving party must respond to a

dispositive motion within twenty-one (21) days of the date the motion was filed. If no response is

filed, or the response is not timely, the dispositive motion can be granted absent objection.

         (9)      If plaintiff changes his address at any time during the litigation of this case, Local

Court Rule 83.1(c)(2) provides that plaintiff MUST notify the Court. Failure to do so can result

in the dismissal of the case. Plaintiff must give notice of a new address even if he is incarcerated.

Plaintiff should write PLEASE NOTE MY NEW ADDRESS on the notice. It is not enough to



                                                    7
            Case 3:17-cv-01281-JAM Document 8 Filed 10/25/17 Page 8 of 8




just put the new address on a letter without indicating that it is a new address. If plaintiff has

more than one pending case, he should indicate all of the case numbers in the notification of

change of address. Plaintiff should also notify the defendant or the attorney for the defendant of

his new address.

         (10)    Plaintiff shall utilize the Prisoner Efiling Program when filing documents with the

court.

         It is so ordered.

         Dated at New Haven, Connecticut, this 25th day of October 2017.


                                                               /s/ Jeffrey Alker Meyer
                                                               Jeffrey Alker Meyer
                                                               United States District Judge




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